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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               DECLARATION OF
 v.                                            J. ALEX HALDERMAN

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.                                   Civil Action No. 1:17-CV-2989-AT




      Pursuant to 28 U.S.C. § 1746, I, J. ALEX HALDERMAN, declare under

penalty of perjury that the following is true and correct:

      1.    I hereby incorporate my previous declarations as if fully stated herein. I

have personal knowledge of the facts in this declaration and, if called to testify as a

witness, I would testify under oath to these facts.

      2.    In August 2020, the Court granted Plaintiffs access to Georgia voting

equipment for the purpose of assessing its security. I examined the equipment for

the Curling Plaintiffs, with the assistance of Professor Drew Springall of Auburn

University. In just twelve person-weeks of work, we discovered numerous

vulnerabilities, some of which could potentially be exploited to alter election results.
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I submitted an Expert Report dated July 1, 2021, that describes these vulnerabilities

and explains the threats they pose to future elections in Georgia.

       3.    In December 2021, the Court ordered the parties to convey the Expert

Report to Dominion so that the company could begin patching the vulnerabilities to

the extent possible. In February 2022, the Court further ordered Curling Plaintiffs to

submit the Expert Report to CISA’s Coordinated Vulnerability Disclosure (CVD)

program so that the agency could advise affected jurisdictions about the problems.

CISA published a Security Advisory summarizing some of the vulnerabilities in

June 2022. Dominion subsequently developed an updated version of its software,

Democracy Suite 5.17, that is intended to address some of the vulnerabilities in the

Expert Report as well as the DVSorder privacy vulnerability that I discovered

independently of this lawsuit.1 The updated Dominion software received EAC

certification in March 2023.

       4.    Plaintiffs, State Defendants, CISA, Dominion, numerous cybersecurity

experts, and I all agree that the Court should unseal the Expert Report and allow it

to be made public, subject only to certain narrow technical redactions. However, the




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  I cannot say whether Dominion’s new software successfully address any of these issues, because
I have not been given access to the new software to validate the changes (nor, to my knowledge,
has CISA been given such access).


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Court, quite understandably, has asked whether releasing the Expert Report would

“compound the threats and risks to the security of the voting system”. Making

vulnerability information public is never without risk; however, in this instance,

keeping the Expert Report secret would carry far greater risks than making it public.

      5.    Maintaining the Expert Report under seal (other than the previously

proposed redactions) would do little or nothing to hinder serious adversaries. Indeed,

part of the reason that the vulnerabilities in the Dominion system are so dangerous

is that they are easy to discover given access to the software, which is now widely

available. Professor Springall and I found them without expending extensive

resources or unusual expertise, but rather merely by applying widely held knowledge

about computers and security over a span of a few weeks. Georgia’s Dominion

software fell into the hands of unauthorized parties more than two years ago in the

Coffee County breach, and it has been widely disseminated. Similar Dominion

software was stolen from Mesa, Colorado in 2021 and can be downloaded by anyone

online. Regardless of whether the Expert Report is made public, adversaries can

study the leaked software to discover the same or equivalent vulnerabilities. In my

assessment, access to the Expert Report would save such adversaries at most a few

weeks of effort, and probably less, since CISA’s public Security Advisory already




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contains numerous clues about where in the software the vulnerabilities are to be

found.

       6.   Furthermore, while the Expert Report may appear to give a “roadmap”

for attacking the election system, it stops well short of providing complete recipes

for exploiting the most dangerous attacks. For instance, the Expert Report omits

numerous technical details about the vote-stealing malware it describes, since these

details are not needed for the Expert Report’s analysis and conclusions. Anyone

seeking to create real malware would need to figure out these details on their own,

since the source code for the malware that Professor Springall and I developed will

remain secret under this Court’s Protective Order even if the Expert Report is

unsealed. The redactions I previously proposed would withhold other key technical

details that attackers would need. Adversaries who are technically proficient enough

to work out these details if the Expert Report is made public would be equally

capable of discovering the complete vulnerabilities without access to the report.

      7.    Any risk to making the Expert Report public needs to be balanced

against the benefits to election security and transparency that unsealing it would

provide. Access to the Expert Report will give election officials and other

policymakers a more complete picture of the Dominion equipment’s security risks,

which will help them make better-informed decisions about how to defend it. For



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instance, several states are now performing testing and certification for Dominion’s

updated software, but without access to the Expert Report, they do not have enough

information to test whether Dominion’s changes properly mitigate some of the

vulnerabilities. Access to the Expert Report is also crucial for helping states assess

the magnitude of the risks that the vulnerabilities create, since although CISA’s

Advisory states that the problems “should be mitigated as soon as possible”, it does

not provide specific information regarding the ease with which they can be

discovered and exploited.

      8.     Withholding the Expert Report also hinders states’ efforts to mitigate

the vulnerabilities and corresponding threats to elections. CISA has urged states to

adopt a long list of mitigations, which run the gamut from tweaking specific technical

settings (“Disable the ‘Unify Tabulator Security Keys’ feature”) to implementing

broad policies (“for each election […] Conduct rigorous post-election tabulation

audits”). Yet without the details from the Expert Report, officials cannot understand

why each mitigation is necessary, let alone determine what the consequences will be

if some mitigations are not implemented or are imperfectly applied. Unsealing the

Expert Report will allow states’ security experts to understand the vulnerabilities in

sufficient depth to make appropriate recommendations on such matters and for the




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states themselves to understand the specific steps needed to mitigate those

vulnerabilities, to the extent possible.

      9.     Beyond helping to secure elections that rely on Dominion’s equipment,

unsealing the Expert Report will inform broader policy discussions that are taking

place now in state legislatures and in Congress. For instance, Louisiana will soon

decide whether to purchase a BMD-based voting system like Georgia’s or a

predominantly hand-marked system—a choice for which the risks discussed in the

Expert Report are extremely relevant. (Louisiana previously requested permission

from the Court to access the Expert Report, and that request was denied.) In the U.S.

Senate, lawmakers are considering a bill to require the EAC to perform penetration

testing as part of its certification process—a reform for which the Expert Report

would provide important information and context, since it is essentially a

compendium of serious failings with Dominion’s voting equipment overlooked by

the existing EAC certification process.

       10. Meanwhile, in Georgia, the Secretary of State’s Office has done little, if

anything, to implement the mitigations prescribed by CISA, and recently made the

stunning admission that it may not get around to installing Dominion’s security

patches until after the 2024 Presidential Election.




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      11. One reason for this lack of urgency may be the fact that Dominion has

told Georgia (and other jurisdictions that use Dominion’s voting equipment) that

MITRE concluded the attacks in the Expert Report are infeasible. This is highly

misleading. MITRE admits it was provided no access to Dominion’s equipment or

software (unlike Professor Springall and myself), and MITRE’s analysis is entirely

premised on the false assumption that outsiders cannot gain access to the equipment

and software—which outsiders did in Coffee County and elsewhere. Security

experts who advise states cannot properly assess MITRE’s claims and understand

why they are unfounded and dangerous without the same access to the Expert Report

that MITRE received from Dominion.

      12. For these reasons, the balance of security interests heavily favors

unsealing the Expert Report now, while Georgia and other states still have almost

18 months to address the vulnerabilities ahead of the next presidential election.

      13. Unsealing the Expert Report now will also defuse the risk that it could

become public without authorization. Through no fault of Plaintiffs or their experts,

a large number of people and organizations have come to possess copies of the




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Expert Report,2 creating a substantial risk that it will be accidentally disclosed,

stolen, or even deliberately leaked. I am especially fearful that the Expert Report

will be leaked around the time of the 2024 Presidential Election to cause chaos or

undermine the legitimacy of whoever wins in Georgia. This is even more likely if

Georgia fails to patch the vulnerabilities by that time, as it appears set to do.

       14. There is ample time for states to adopt wider use of hand-marked paper

ballots, implement rigorous post-election audits, install software patches, and

implement other defenses to improve their security posture in response to the

vulnerabilities the Expert Report describes. That will not be true a year from now,

and it becomes increasingly difficult the longer the Expert Report remains

unavailable to those who need it to understand the specific risks the Dominion’s

voting equipment and software present and the specific measures needed to mitigate

those risks.




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  The Court authorized the Report’s dissemination to counsel and experts for the parties in this
lawsuit, Georgia state officials, Dominion, and CISA, which shared it with EAC and DOJ as part
of the CVD process. Dominion shared it without the Court’s authorization with MITRE as well as
with counsel and experts for the parties in the company’s recently settled defamation suit against
Fox News. Dominion has similar lawsuits pending against Mike Lindell and My Pillow; against
Newsmax, One America News, and Patrick Byrne; against Rudy Giuliani; and against Sidney
Powell and related parties. I understand that Dominion has declined to disclose whether it produced
the Expert Report to those parties, their counsel or experts, or others, despite requests from
Plaintiffs here for such clarity.


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      15. Unsealing the redacted Expert Report now, when it may help spur

critical mitigations, is needed to advance the public’s interest in secure elections.

Unfortunately, for the reasons I explain in the Expert Report and in other testimony

I have provided in this matter, releasing the Expert Report will not provide the level

of security required to reasonably protect elections against interference and failures

arising from use of Dominion’s unreliable voting equipment in the current climate.

The many serious failings with that equipment, as confirmed by CISA, present

numerous opportunities for bad actors (including what State Defendants and

Dr. Michael Shamos call “insiders”) to adversely affect individual votes and even

election outcomes, especially in the current environment of advanced persistent

threats to U.S. elections, as acknowledged by federal authorities. This is especially

true given the ease with which potentially bad actors can breach the Dominion voting

system and gain unfettered access to it in its operational environment—as occurred

in Coffee County—after having had access to the Dominion software for years to

identify its many serious vulnerabilities and devise ways to exploit them. Continuing

to seal the redacted Expert Report will only exacerbate those very serious security

failings, whereas releasing it will provide at least some help to mitigate them—

including by providing vital information that election officials need to make




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informed decisions about whether to purchase the equipment or whether to continue

using it, and if so, exactly how.

      16. Releasing the redacted Expert Report also will provide critical

information for voters to understand the risks the vulnerable equipment poses to their

right to vote, enabling them to make informed decisions about whether to vote on

the BMDs and whether to support elected officials who adopted and are maintaining

the vulnerable equipment (especially without implementing the requisite mitigation

measures), as in Georgia. In sum, while releasing the redacted Expert Report will

not remedy the inadequacy of the Dominion BMD system that renders it

inappropriate for U.S. elections, it will help stakeholders—including both election

officials and voters—make informed decisions and take necessary steps to mitigate

the threats that system poses to elections.



     I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 16th day of May, 2023 at Ann Arbor, Michigan.




                                        J. ALEX HALDERMAN




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